Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 1 of 36

SCHEDULE
a @ C C 99

Tract: RGV-RGC-1104
Owner: John F.J. Guerra
Acres: 2.117
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 2 of 36

SCHEDULE “CCC”
LEGAL DESCRIPTION

Tract: RGV-RGC-1104

Owner: John F.J. Guerra

Acres: 2.117

BEING a 2.117 acre tract (92,211 square feet) parcel of land, more or less, out of Porcién 71,
Ancient Jurisdiction of Mier, Mexico, now Starr County, Texas, also being out of the J. Salinas
Grant, Abstract 163, Share 8b, and a portion of the residue of a called 99.25 acre tract of land
described in a deed dated December 18, 1984, from Rio Vista Estates, Inc., to John F.J. Guerra,
recorded in Volume 515, Page 564 of the Official Records of Starr County, Texas (O.R.S.C.T.)
parcel of land being more particularly described as follows;

COMMENCING at a point for reference at a 1/2-inch iron rod found, having a coordinate value
of N=16,675,107.980, and E=812,543.630, for the common west corner of Lots 17 and 18 of the
Campobello Subdivision, as shown on the plat thereof recorded in Volume 2, Page 186, of the
Map Records of Starr County, Texas (M.R.S.C.T.) on the east line of the residue of a called 50.10
acre tract described in a deed dated March 3, 2006, to Justo De La O, recorded in Volume 1086,
Page 185 (O.R.S.C.T.), thence as follows; ,

S 08°46°04” W, with the common east line of said called 50.10 acre tract and the west line of said
Lot 17, at a distance of 94.58 feet passing the southwest corner of said Lot 17 and continuing for
a total distance of 201.47 feet to a 5/8 inch iron rod with aluminum cap marked RGV-RGC-1104-
1 set for the north corner and POINT OF BEGINNING of the herein described parcel, having
grid coordinates of N=16,674,908.855 and E=812,512.958, said point bears North 35°02’21”
West, a distance of 2,188.63 feet from United States Army Corp of Engineers Monument No.

8133;

THENCE: SOUTH 71°57’04” EAST, a distance of 6.12 feet, over and across the residue of said
99.25 acres with the northerly line of the herein described Parcel RGV-RGC-1104 to a 5/8 inch
iron rod with aluminum cap marked RGV-RGC-1104-2 set for an angle corner of the herein
described parcel;

THENCE: SOUTH 67°17°50” EAST, a distance of 248.82 feet, over and across the residue of
said 99.25 acres continuing with the northerly line of the herein described Parcel RGV-RGC-1104
to a 5/8 inch iron rod with aluminum cap marked RGV-RGC-1104-3 set for an angle corner of the
herein described parcel;

THENCE: SOUTH 61°27°55” EAST, a distance of 287.88 feet, continuing with the northerly line
of the herein described Parcel RGV-RGC-1104 to a 5/8 inch iron rod with aluminum cap marked
RGV-RGC-1104-4= 1082-1 set in the common east line thereof and the west line of a called 1.60
acre tract described as “Tract a” in a deed dated January 25, 1954 to Ignacia G. Gutierrez, recorded
in Volume 191, Page 98 (O.R.S.C.T.) for the east corner of the herein described parcel; .
Case 7:08-cv-00177 Document 116-1 ° Filed on 01/09/20 in TXSD Page 3 of 36

THENCE: SOUTH 61°14’28” WEST, at a distance of 192.68 pass the south share lines of 11-a
and 8-b in Porcién 71, along said common line, a distance of 267.49 feet to a point at the north
line of the Rio Grande River (as of the time of this survey) for the south corner of this tract;

THENCE: Along the north river line of the Rio Grande River the following directions and
distances, approximating the north river line as of the time of this survey;

THENCE: NORTH 56°29’29” WEST, a distance of 176.94 feet to an angle point;
THENCE: NORTH 60°12’22” WEST, a distance of 17.39 feet to an angle point;

THENCE: NORTH 65°59’06” WEST, a distance of 134.11 feet to a point for the west corner of
this tract;

THENCE: NORTH 08°46’04” EAST, at a distance of 160.20 feet passing the southeast corner of
said called 50.10 acre tract and continuing a total distance of 205.65 feet, to the POINT OF
BEGINNING and containing a 2.117 acre tract (92,211 square feet) tract of land.
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 4 of 36

SCHEDULE
ChnpDpD 99

Tract: RGV-RGC-1104
Owner: John F.J. Guerra
Acres: 2.117
 

Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 5 of 36

 

STARR COUNTY, TX ANCIENT JURISOICTION OF MER

J SALINAS GRANT, A-163, PORCION 71 “ |
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LINE TABLE
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L3 S 61'27'55" E 287.88"
L4 | s 6114'28" W 267.49"
LS | N 56°29'29" W 176.94" \
Ls | N 6072'22" W 17.39" -
- >
L7__| _N 65°59'06" W 134.11 WOV—-RGC—L104 SS “Se \
iB | _N 08'46'04" E 205.65" 2.117 AC. (92,211 SF.) BQ So % aS
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LEGEND REE Se.
PLAT SHOWING AN 2.117 ACRE (92,211 S.F.), <= Bas SanckaTy INE a Te
PARCEL OF LAND MORE OR LESS; BEING OUT apr om
OF ANCIENT JURISDICTION OF MIER J. SALINAS —— —— — ADJOINING ACQUISITION LINE <=
GRANT,A-163, SHARE 8b, PORCION 71, STARR
COUNTY,TX, AND A PORTION OF THE RESIDUE [Se] ACQUISITION AREA
OF A CALLED 99.25 ACRE TRACT IN VOL 515, POB POINT OF BEGINNING
PG 564 EXECUTED DECEMBER 18 1985, O.R.S.C.T. poe BENT SE GOuNENEING
O.R.S.C.T. OFFICIAL RECORDS STARR COUNTY, Tx
O D S @ SET ALUM. DISK ON 5/8” IR STAMPED AS NOTED
7 gg10 LEE ROAD, Og \ oO FOUND PROPERTY CORNER AS NOTED
a ING, TEXAS M.R.S.C.T. MAP RECORDS STARR COUNTY, TX
: TEL (28 — ‘0 oa z
Surveying, Ine. FAX ai} 330-4001 A CALCULATED POINT :
TBPLS FIRM REGISTRATION No. 10030700
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rs METES & BOUNDS SURVEY eS Date | #92"! Brawn _| DAR [12/2018 ~G
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Surveyor] DK | 12/2019 || ENGINEERING, INC.) 5.3
ww ~ - ss
a & RGV-RGC-1104 Fid.Bk. #| B&F FIELD 4 HoT SPRINGS, AR 919 BG
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(+ ¢ JISTARR COUNTY TEXAS)\ 1.0.; w45xMas15779870001 )|_ RoCtorsees (emaltjine@ioniongecom J &

 

 

 

RODS PROJ. 595-21846-001 FILENAME: RGV-RGC-1104A DATE: 12-06-2019

 
 

Case 7:08-cv-00177

Document 116-1 Filed on 01/09/20 in TXSD Page 6 of 36

 

RESIDUE OF
CALLED 50.10 AC
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GROSS 2.117 AC. (92,211 SF.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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RESIDUE OF
CALLED 99.25 AC.
RIO VISTA FAAS INC.

OHN F.J. GUERRA
VOL 515, PG 564
O.R.S.C.T.

 
  

       
  

      
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COORDINATE TABLE 1
MONUMENT NAME NORTHING EASTING - 108 . 2
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RGV-RGC-1104-2 16,674,906.959 | 812,518,778 RG J o
RGV-RGC-1104-3 16,674,810.926 | 812,748,319 pov"
RGV-RGC-1104-4=1082-1 16,674,673.406 | 813,001.233
NOTES:
1. The bearings, distances, and coordinate values
shown hereon are based on the State Plane
Coordinate System of Texas, South Zone
(4205), North American Datum of 1983 (2011
ADJ; 2010,00 EPOCH). The distances and
coordinates shown hereon ore grid values and
may be converted to surface using a combined
scale factor of 1.00004. (grid x 1.00004 =
surface)
2. The area shown hereon has been calculated RIN DANI RE | EY 5
using grid values. . os ARAGK =,
° yo 49 2080 SF y
3. This survey wos prepared without benefit of a y Vy" Fess \O yO g
current title commitment and may not show o "etesest ty Y
easements and other factors which might affect SUR
the property. La p&F
4. A Metes and Bounds of even date accompanies
this plot.
5. Lone Star 811 was submitted for this survey
on Nov. 15, 2018 (ticket Nos.583107639, |, JOHN DAVID KENNEY, A REGISTERED PROFESSIONAL LAND
1881973340), no visible marks for utilities as SURVEYOR DO HEREBY CERTIFY THAT THE HEREON MAP OR
of this date. PLAT DEPICTS A SURVEY MADE UNDER MY SUPERVISION, ON
THE GROUND, AND MEETS THE MINIMUM STANDARDS AS SET
; FORTH BY THE TEXAS BOARD OF PROFESSIONAL LAND
O / \ SURVEYING.
Ta SPRING, EE ERAS 7 7379
° TEL (261) 257-4020 Jit oo Ku4 4 b-|2- 4
Surveying, Inc. Fax (Ban) 387-4021 neg, i ! f
TBPLS FIRM REGISTRATION No. 10030700 JOHN DAVID KENNEY RPLS 2080 DATE
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5 Descripti Appr.
a METES & BOUNDS SURVEY Hons |Desedptin _| bate L486) Trawn | bar [1272019 Beam 2G
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as CONTRACT NO: W9127S-14-D-0013 || TEXAS DCENSED SuRvenNG Aru Ay etre eee °s
*o JISTARR COUNTY TEXAS) 1.0: W45XMA815779870001 |“ Ha. 1o1ase4 J (EMAIL) info@bnfeng.com a
RODS PROJ. 595-21846-001 FILENAME: RGV-RGC-1104B DATE: 12-06-2019 :

 
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 7 of 36

SCHEDULE
66 CC”

Tract: RGV-RGC-1082

Owner: Jose Ignacio Gutierrez, et al.
Acres: 0.710
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 8 of 36

SCHEDULE “CCC”
LEGAL DESCRIPTION

Tract: RGV-RGC-1082
Owner: Jose Ignacio Gutierrez, et al.

Acres: 0.710

BEING a 0.710 acre tract (30,911 square feet) parcel of land out of Porcién 71, Ancient
Jurisdiction of Mier, Mexico, now Starr County, Texas, also being out of the J. Salinas Grant,
Abstract 163, Share 11-a, and a portion of a called 1.60 acre tract of land described as Tract “a” in
a deed dated January 25, 1954, to Ignacia G. Gutierrez, recorded in Volume 191, Page 89, and in
an executors deed dated June 12, 2009 distributing the property to Jose Ignacio Gutierrez, Minerva
G. Guerra, Rosario G. Pope, Celeste G. Narro, Cecelia G. Martinez and Maria Iris G. Trevino
recorded in Book 1238, Pages 80, 85, 90, 95, 100 and 105 of the Official Records of Starr County,

Texas (O.R.S.C.T.), said 0.710 acre tract being more particularly described by metes and bounds
as follows:

BEGINNING at a point for reference at a 2-inch steel pipe found, having a coordinate value of
N=16,674,587.980 and E=812,845.580 in the common northwest line of said Ignacia G. Gutierrez
tract and the southeast line of the residue of a called 99.25 acre tract of land described in a deed
dated December 18, 1984 from Rio Vista Estates, Inc., to John F.J. Guerra, recorded in Volume
515, Page 564 (O.R.S.C.T). All bearings and coordinates are based on the Texas State Plane
Coordinate System, South Zone, (4205) North American Datum 1983 (CORS 96).

THENCE: NORTH 61°14’28” EAST, with said common line, a distance of 177.55 feet to a 5/8-
inch iron rod with aluminum cap marked “RGV-RGC-1104-4= 1082-1” for the north corner

of this tract;

THENCE: SOUTH 61°27°55” EAST, over and across said Ignacia G. Gutierrez tract, a
distance of 134.04 feet to a 5/8-inch iron rod with aluminum cap marked “RGV-RGC-1082-
2= 1081-1” set in the common southeast line of said Ignacia G. Gutierrez tract and the
northwest line of a called 1.60 acre tract of land described in a deed dated November 10, 1969, to
Dr. Cecilio Homero Gutierrez, M.D., recorded in Volume 346, Page 539 (O.R.S.C.T.), said called
1.60 acre tract owned by the Estate of Elisa de Leon Gutierrez being under Travis County Court
No. 1, Case No. PR-18-000383 assigning Laura Sandoval as executrix, for the east corner of this

tract;

THENCE: SOUTH 61°14’28” WEST, along said common line, a distance of 280.62 feet to an
unmarked point along the north water line of the Rio Grande River (as of the date of this survey)

for the south corner of this tract;

THENCE: NORTH 56°29’29” WEST, along the north water line of the Rio Grande River (as of
the date of this survey), a distance of 127.43 feet to an unmarked point in said common northwest
line of said Ignacia G. Gutierrez tract and the southeast line of said called 99.25 acre tract along
the north water line of the Rio Grande River (as of the date of this survey) for the west corner of

this tract;
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 9 of 36

THENCE: NORTH 61°14’28” EAST, along said common line, a distance of 89.94 feet, to the
PLACE OF BEGINNING and containing a 0.710 acre tract (30,911 square feet) tract of land.
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 10 of 36

SCHEDULE
od DDD 99

Tract: RGV-RGC-1082
Owner: Jose Ignacio Gutierrez, et al.
Acres: 0.710
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 11 of 36

 

CONTROL POINT

 

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POC POINT OF COMMENCING 12 S 612755" E 134.04"
O.R.S.C.T. OFFICIAL RECORDS STARR COUNTY, TX 13 S 611428" W 780.62"
@ SET ALUM. DISK ON 5/8” IR STAMPED AS NOTED L4 N 562920" W 127.43"
FOUND PROPERTY CORNER AS NOTED sae j
O eS L5 N 611428 E 89.94
M.R.S.C.T. MAP RECORDS STARR COUNTY, TX —_-— s
A CALCULATED POINT L6 S 6114'28”" W 69.67
L7 N 6114'28" E 74.81

 

 

 

 

 

 

 

BEING OUT OF ANCIENT JURISDICTION OF MIER.J. SALINAS GRANT,A—163, SHARE

O DS h PLAT SHOWING AN 0.710 ACRE (30,911 S.F.), PARCEL OF LAND MORE OR LESS,
rr SoG. Tease 77379 11-0, PORCION 71, STARR COUNTY,TX, BEING OF A.CALLED 1.60 ACRE TRACT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: TEL (261) 257-4020
Surveyin g, inc. & ei Gee CONVEYED TO IGNACIA G. GUTIERREZ IN VOL 191, PG 89 EXECUTED JANUARY 25,
TBPLS FIRM REGISTRATION No. 10030700 1954, O.R.S.C.T.

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2s METES & BOUNDS SURVEY tenet —[ ose (orann_[ ves je | ROEM ||°-° (FS
mS IGNACIA G, GUTIERREZ Checked] All. [12/2019 parm caeie aie a3 F

Surveyor| JDK | 12/2019 ER i 5 \
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33 RGV-RGC-1082 rusk al ewreo: || cA, |
tg CONTRACT NOx W9127S-14-D-0013_|| TEAS LCENSED Sunvernc Frat (PH) 501-767. 9
|» 5 JISTARR COUNTY TEXAS). To. W4sxmasis77ee70001 }|_ * Koctoruere (EMAL) Info@bntengcom JL

 

 

 

 

 

 

 

 

RODS PROJ. 595-21846-001 FILENAME: RGV-RGC-1082A DATE: 12/11/2019

 
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 12 of 36

J. SALINAS GRANT, A-163, PORCION 71
ANCIENT JURISDRICTION OF MIER ZN
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BGV-ROC-L082 an
GROSS 0.710 AC. (30,911 SF.)

NOTES: a

1. The bearings, distances, and coordinote values
shown hereon are based on the State Plane
Coordinate System of Texas, South Zone
(4205), North American Datum of 1983 (2011

  
  

ADJ; 2010.00 EPOCH). The distances and
coordinates shown hereon are grid values and *
may be converted to surface using a combined
scale factor of 1.00004. (grid x 1.00004 = Colled 1.55 Ac
surface) lsobe/l Gutierrez Garcia to Angelita GC. Haynes
2. The area shown hereon has been calculoted Out Stee Tien Oe fo g
j id i ‘ WIT. 9.6.4, ,,
using grid values rransherred to by probote ‘
3. This survey was prepared without benefit of a an ISETIOUUON 1) KOTTOM qa"
current title commitment and may not show Deed, 2018—-346819 to Jose Ae OF >
easements ond other factors which might affect /gnacio, Culierrez, Minerva GC. Guerre, went tee

  
  

rosario G. Fope, Celeste G. Norro, |
Cecilia CG. Mortinez, Maria tris C. Trevino
4. A Metes and Bounds of even date accompanies Desemnber 15, 2018
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5. Lone Star 811 was submitted for this survey
on Nov. 15, 2018 (ticket Nos.583107639,
1881973340), no visible marks for utilities as

 

 

 

 

 

of this date.
COORDINATE TABLE
MONUMENT NAME NORTHING EASTING |, JOHN DAVID KENNEY, A REGISTERED PROFESSIONAL LAND
RGV-RGC-1104—4=1082-1 16,674,675.406 | 813,001,233 . SURVEYOR DO HEREBY CERTIFY THAT THE HEREON MAP OR
RGV-RGC-1082—2= 1081-1 16,674,609.374 | 813,118.995 PLAT DEPICTS A SURVEY MADE UNDER MY SUPERVISION, ON

 

 

 

 

-THE GROUND, AND MEETS THE MINIMUM STANDARDS AS SET
FORTH BY THE TEXAS BOARD OF PROFESSIONAL LAND

O DS SPRING, TEXAS | hited Phaetaacrt Lz#2-1F

Survey ng, Inc. FRX Gay 257-4021 : JOHN DAVID KENNEY RPLS 2080 DATE
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TBPLS FIRM REGISTRATION No. 10030700

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ms IGNACIA G, GUTIERREZ Checked] Al. |12/2019 eagntecie, 12 aa
Surveyor] JDK | 12/2019 ERING, INC.) 5:

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be RGV-RGC-1082 Fok AL earreios || QAO, |B
nn PH) 501-767-2366 “oOo

CONTRACT NO: W9127S-14-D-0013 || TEXAS LENSED SURVENNG au Ene g
+ = |ISTARR COUNTY TEXASJL r.03W45xMA615779870001 )| Rn“ JL (EMA Into@bnfong.com J\_

 

 

 

RODS PROJ. 595-21846-001 FILENAME: RGV-RGC-1082B DATE: 12-11-2019

 
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 13 of 36

SCHEDULE
COCC”

Tract: RGV-RGC-1081
Owner: Estate of Elisa de Leon Gutierrez
Acres: 0.770
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 14 of 36

SCHEDULE “CCC”
LEGAL DESCRIPTION

Tract: RGV-RGC-1081

Owner: Estate of Elisa de Leon Gutierrez

Acres: 0.770

BEING a 0.770 acre tract (33,533 square feet) parcel of land out of Porcién 71, Ancient
Jurisdiction of Mier, Mexico, now Starr County, Texas, also being out of the J. Salinas Grant,
Abstract 163, Share 11-a, and a portion of a called 1.60 acre tract of land described in a deed dated
November 10, 1969, from Encarnacion Gutierrez and wife, Olivia L. Gutierrez, to Dr. Cecilio
Homero Gutierrez, M.D., recorded in Volume 346, Page 539, of the Official Records of Starr
County, Texas (O.R.S.C.T.), said called 1.60 acre tract owned by the Estate of Elisa de Leon
Gutierrez being under Travis County Court No.1, Case No. PR-18-000383 assigning Laura
Sandoval as executrix, said 0.770 acre tract parcel being more particularly described by metes and
bounds as follows:

COMMENCING at a point for reference at a 2-inch steel pipe found, having a coordinate value
of N = 16,674,587.980 and E = 812,845.580, in the common northwest line of a called 1.60 acre
tract of land described as Tract “a” in a deed dated January 25, 1954, to Ignacia G. Gutierrez,
recorded in Volume 191, Page 89 (O.R.S.C.T.), and the southeast line of the residue of a called
99.25 acre tract of land described in a deed dated December 18, 1984 from.Rio Vista Estates, Inc.
to John F. J. Guerra, recorded in Volume 515, Page 564 (O.R.S.C.T), thence as follows;

THENCE: NORTH 61°14’28” EAST, with said common line, a distance of 177.55 feet to a
5/8-inch iron rod with aluminum cap marked “RGV-RGC-1104-4=1082-1” set in the
northwest line of said Ignacia G. Gutierrez tract;

THENCE: SOUTH 61°27°55” EAST, over and across said Ignacia G. Gutierrez tract, a
distance of 134.04 feet to a 5/8-inch iron rod with aluminum cap marked “RGV-RGC-1082-
2= 1081-1” set in the common southeast line of said Ignacia G. Gutierrez tract and the
northwest line of said Elisa de Leon Gutierrez tract for the north corner and POINT OF
BEGINNING of the herein described parcel, having grid coordinates of N=16,674,609.374 and
E=813,118.993. All bearings and coordinates are based on the Texas State Plane Coordinate
System, South Zone, (4205) North American Datum 1983 (CORS 96).

THENCE: SOUTH 61°27°55” EAST, over and across said Elisa de Leon Gutierrez tract, a
distance of 38.82 feet to a 5/8-inch iron rod with aluminum cap marked “RGV-RGC-1081-2”
set for an angle point along the northeast limit of this tract;

THENCE: SOUTH 49°23’54” EAST, continuing over and across said Elisa de Leon Gutierrez
tract, a distance of 93.43 feet to a 5/8-inch iron rod with aluminum cap marked “RGV-RGC-
1081-3 = 1080-2” set in the common southeast line said Elisa de Leon Gutierrez tract and the
northwest line of a called 0.61 acre tract conveyed to Romulo Gutierrez in Volume 191, Page 98
O.R.S.C.T. for the east corner of this tract;
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 15 of 36

THENCE: SOUTH 61°14’24” WEST, with said common line, at a distance of 207.20 pass the
south line of said Share 11-a and continuing a total distance of 271.48 feet to an unmarked point
along the north water line of the Rio Grande River (as of the date of this survey) for the south
corner of this tract;

THENCE: NORTH 56°27°33” WEST, along the north water line of the Rio Grande River (as of
the date of this survey), a distance of 135.65 feet to an unmarked point in the common northeast
line of said Ignacia G. Gutierrez tract along the north water line of the Rio Grande River (as of
the date of this survey) for the west corner of this tract;

THENCE: NORTH 61°14’28” EAST, along said common line, a distance of 280.62 feet, to the
PLACE OF BEGINNING and containing a 0.770 of one acre (33,533 square feet) tract of land.
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 16 of 36

SCHEDULE
“DDD” 7

Tract: RGV-RGC-1081
Owner: Estate of Elisa de Leon Gutierrez
Acres: 0.770
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 17 of 36

 

 

   
   
   

 
 

 

 

 

 

 

 

 

 

 

 

 

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Poc _ POINT OF COMMENCING = : —: “ a
O.R.S.C.T. OFFICIAL RECORDS STARR COUNTY, TX L3 S 6114'24" W ae
@ SET ALUM. DISK ON 5/8” IR STAMPED AS NOTED L4 N 56'27'33" W 135.65"
O FOUND PROPERTY CORNER AS NOTED L5 N 61°14'28" E 280.62"
M.R.S.C.T. MAP RECORDS STARR COUNTY, TX
A CALCULATED POINT PLAT SHOWING AN 0.770 ACRE (33,533 S.F.), PARCEL OF LAND MORE OR LESS,

BEING OUT OF PORCION 71, ANCIENT JURISDICTION OF MIER, MEXICO, NOW STARR

COUNTY, TEXAS, ALSO BEING OUT OF THE J. SALINAS GRANT, ABSTRACT 163,
SHARE 11-A, ALSO BEING OUT OF A CALLED 1.60 ACRE TRACT CONVEYED TO OR.
ae 6810 LEE ROAD CECILIO HOMERO GUTIERREZ M.D., IN VOL 346, PG 539, EXECUTED NOVEMBER 10,

SPRING. TEXAS 77373 | 1969, O.R.S.C.T. ESTATE OF ELISA DE LEON GUTIERREZ BEING UNDER COURT

Surveyin /1T7C. Fax (281) 237-4021 :
THPLS FIRM ee he 10030700 } ORDER 7:08—CV-177 ASSIGNING LAURA SANDOVAL AS EXECUTRIX.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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RODS PROJ. 595-21846-001 FILENAME: RGV-RGC-1081A DATE: 42/11/2019

 
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 18 of 36

 

J. SALINAS GRANT, A-—163, PORCION 71
ANCIENT JURISDRICTION OF MIER JAN
STARR COUNTY, TX i
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GROSS 0.770 AC. (33,533 SF.)

NOTES:

1. The bearings, distances, and coordinate values
shown hereon are based on the State Plane
Coordinate System of Texas, South Zone
(4205), North American Datum of 1983 (2011
ADJ; 2010.00 EPOCH). The distances and
coordinates shown hereon are grid values and
may be converted to surface using a combined
scale factor of 1.00004. (grid x 1.00004 =
surface)

Called 1.55 Ac

2. The area shown ‘hereon has been calculated ue cle & Haynes 7

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using grid values. ORS.CT. January 25, 19.
Transterred to by probate

3. This survey was prepared without benefit of a aE
current title commitment and may not show inacin Culeles, Minerva G Cuere,
easements and other factors which might affect Cette 6 Nottie, Maran tas C. Trevino
the property. Desember 15, 2018

4. A Metes and Bounds of even date accompanies
this plat.

5. Lone Star 811 was submitted for this survey
on Nov. 15, 2018 (ticket Nos.583107639,
18B1973340), no visible marks for utilities os

 

 

 

 

 

 

 

 

 

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COORDINATE TABLE
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RGV-RGC—1081—2 16,674,590.831 | 813,153,096 I, JOHN DAVID KENNEY, A REGISTERED PROFESSIONAL LAND
RGV—RGC—1081—3=1082—2 | 16,674,530.027 | B13,224.033 SURVEYOR DO HEREBY CERTIFY THAT THE HEREON MAP OR
PLAT DEPICTS A SURVEY MADE UNDER MY SUPERVISION, ON

 

 

THE GROUND, AND MEETS THE MINIMUM STANDARDS AS SET
FORTH BY THE TEXAS BOARD OF PROFESSIONAL LAND

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Surveying, Inc. Fax (331) 257-4021 JOHN DAVID KENNEY RPLS 2080 DATE
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RODS PROJ. 595-21846-001 FILENAME: RGV-RGC-1081B DATE: 12-41-2019
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 19 of 36

SCHEDULE
COCC”

Tract: RGV-RGC-1080
Owner: Jose Ignacio Gutierrez, et al.
Acres: 0.828
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 20 of 36

SCHEDULE “CCC”
LEGAL DESCRIPTION

Tract: RGV-RGC-1080

Owner: Jose Ignacio Gutierrez, et al.

Acres: 0.828
BEING a 0.828 acre tract (36,075 square feet) parcel of land out of a portion of Share 11-A of
Porcién 71, Ancient Jurisdiction of Mier, Mexico, now Starr County, Texas, and a portion of
acalled 0.61 acre tract of land described in a deed dated January 25, 1954 from Isabel Gutierrez
Garcia to Romulo Gutierrez, recorded in Volume 191, Page 98 of the Official Records of Starr
County Texas (O.R.S.C.T.), Said parcel being transferred by probate and distribution deed to
Jose Ignacio Gutierrez, Minerva G. Guerra, Rosario G. Pope, Celeste G. Narro, Cecilia G.
Martinez, Maria Iris G. Trevino and the Estate of Elisa de Leon Gutierrez said 0.828 acre tract
of land being more particularly described by metes and bounds as follows:

COMMENCING at the north corner of a called 1.00 acre tract of land described in a deed
dated July 11,1974 from Hortencia C. Gutierrez to Matilde Munoz and wife, Lucia G. Munoz
recorded in Volume 395, Page 389 of the O.R.S.C.T., common to the east corner of a called
1.60 acre tract of land described in a deed dated November 10, 1969 to Dr. Cecilio Homero
Gutierrez, M.D. having a coordinate value of N = 16,674,694.202 and E = 813,522.932, from
which a found 1/2 inch iron rod bears said points bears NORTH 27°06' 00" WEST, a distance

of 1.19 feet:

SOUTH 61°13’18” WEST, along the common line of said 1.00 acre tract of land and said 1.60
acre tract of land a distance of 318.00 feet to a 5/8 iron rod with aluminum cap stamped “RGV-
RGC-1081-4=1080-1” set for the north corner of said 0.61 acre tract of land common to the
west corner of said 1.00 are tract of land and in the south line of said 1.60 acre tract of land and
POINT OF BEGINNING of the parcel described herein, having a coordinate value of N =
16,674,541.097 and E = 813,244.211, said point bears SOUTH 13°40' 15" WEST, a distance
of 2,222.69 feet from United States Army Corps of Engineers Control Point No. $133;

THENCE, SOUTH 27°10°00” EAST, a distance of 137.00 feet to a set aluminum disk on a 5/8
iron rod stamped RGV-RGC-1080-2=1079-3 at the south corner of said 1.00 acre tract of land
in the northerly line of a called 1.60 acre Second Tract dated March 10, 1975 from Jacinto
Montalvo and wife Zulema Pena de Montalvo to Juan Montalvo and wife, Ascencion V.
Montalvo recorded in Volume 384, Page 137 of the O.R.S.C.T., for the southeast corner of the
parcel described herein;

THENCE, SOUTH 61°14’29” WEST, passing at a distance of 160.65 feet the south line of
Share 11-A and continuing for a total distance of 237.01 feet to an unmarked point on the
northerly water’s edge of the Rio Grande River as of the date of this survey being the south east
corner of the parcel described herein;
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 21 of 36

THENCE, NORTH 46°23’05” WEST, a distance of approximately 40.03 feet to an unmarked
point along the northerly water’s edge of the Rio Grande River as of the date of this survey being
a point along the southerly line of this parcel;

THENCE, NORTH 48°42’28” WEST, a distance of approximately 34.73 feet to an unmarked
point along the northerly water’s edge of the Rio Grande River as of the date of this survey being
a point along the southerly line of this parcel;

THENCE, NORTH 51°22’28” WEST, a distance of approximately 31.78 feet to an unmarked
point along the northerly water’s edge of the Rio Grande River as of the date of this survey being
a point along the southerly line of this parcel;

THENCE, NORTH 54°09°49” WEST, a distance of approximately 40.75 feet to an unmarked
point along the northerly water’s edge of the Rio Grande River as of the date of this survey and

the southwest corner of this parcel; .

THENCE, NORTH 61°14’27” EAST, distance of approximately 294.49 feet along the
common line of the said 1.60 acre tract of land and said 0.61 acre tract of land to the POINT
OF BEGINNING and containing 0.828 acres (36,075 square feet) of land.
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 22 of 36

SCHEDULE
“DDD”

Tract: RGV-RGC-1080
Owner: Jose Ignacio Gutierrez, et al.
Acres: 0.828
Case 7:08-cv-00177 Document 116-1. Filed on 01/09/20 in TXSD Page 23 of 36

 

    
    
  
    
  

 

 

 

 

 

 

  
 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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wt L3_|_N 46°23'05" W 40.03"
a L4_ | _N 46°42'28" W 34.73
Paley SES ay L5 N 51'22'28" W 31.78"
— — — ADJOINING ACQUISITION LINE Pe ta |W 54'09'49" W 10.75
[=] ACQUISITION AREA we a Pa L7_ | N 6114'27" E 294.49
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PoC POINT OF COMMENCING MONUMENT NAME NORTHING EASTING
O.R.S.C.T. OFFICIAL RECORDS STARR COUNTY, TX RGV-REC—10B 11810801 16,674,541.097_ | 615,244,211
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MAP RECORDS STARR COUNTY, TX
PLAT SHOWING. AN 0.828 ACRE (36,075 S.F.), PARCEL OF LAND MORE OR LESS,

BEING OUT OF PORCION 71, ANCIENT JURISDICTION OF MIER, MEXICO, NOW STARR
COUNTY, TEXAS, ALSO BEING OUT OF THE J. SALINAS GRANT, ABSTRACT 163,

 

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TBPLS FIRM REGISTRATION No. 10030700

SHARE 11-—a, ALSO BEING OUT OF A CALLED 0.61 ACRE TRACT CONVEYED TO
ROMULO GUTIERREZ IN VOL. 191, PG. 95, EXECUTED JANUARY 25, 1954 (O.R.S.C.T.),
BEING TRANSFERRED TO BY PROBATE AND DISTRIBUTION DEED TO JOSE IGNACIO
GUTIERREZ, MINERVA G. GUERRA, ROSARIO G, POPE, CELESTE G. NARRO, CECILIA G.
MARTINEZ, MARIA IRIS G. TREVINO.

CALCULATED POINT
6810 LEE RO,

JAD ;
SPRING, TEXAS 77379
TEL Gat 257-4020

JTC. | FAX (281) 237-4021

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a JOSE IGNACIO GUTIERREZ et al. Checked] Ai. | 12/2019 ite i a3

Surveyor| JDK | 12/2019 EERING, INC.) 5:
av n a 928 AIRPORT ROAD =
2 oe; RGV RGC 1080 Fid.Bk, #| B&F FIELD 1 Be ie BG

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RODS PROJ. 595-21846-001 FILENAME: RGV-RGC-1080A DATE: 42/11/2019

 
 

Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 24 of 36

 

    
 
  

STARR COUNTY, TX

ANCIENT JURISDICTION OF MIER, MEXICO
J. SALINAS GRANT, A—163, JAN
SHARE 11—a, PORCION 71
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(36,075 SF.)

 
    

  

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we 58" 10

    
  

NOTES:

1. The bearings, distances, and coordinate values
shown hereon are based on the State Plane
Coordinate System of Texas, South Zone
(4205), North American Datum of 1983 (2011
ADJ; 2010.00 EPOCH). The distances and
coordinates shown hereon are grid values and
may be converted to surface using a
combined scale factor of 1.00004. (grid x
1.00004 = surface)

2. The area shown hereon has been calculated
using grid values.

3. This survey was prepared without benefit of a
current title commitment and may not show
easements and other factors which might
affect the property.

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4. A Metes and Bounds of even date accompanies sur
this plat. Qo pe?
5. Lone Star 811 was icket No for this surve
on Nov. 15, 2018 (ticket Nos.583107639, l, JOHN DAVID KENNEY, A REGISTERED PROFESSIONAL LAND
1881973340), no visible marks for utilities of SURVEYOR a HEREBY CERTIFY THAT THE HEREON MAP OR
this date. PLAT DEPICTS A SURVEY MADE UNDER MY SUPERVISION, ON

THE GROUND, AND MEETS THE MINIMUM STANDARDS AS SET
FORTH BY THE TEXAS BOARD OF PROFESSIONAL LAND
SURVEYING.

Sito b herd proved 12-12-14

O D S K\ JOHN DAVID KENNEY RPLS 2080 DATE
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RODS PROJ. 595-21846-001 FILENAME: RGV-RGC-1080B DATE: 12-12-2019
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD. Page 25 of 36

SCHEDULE
6OCC”

Tract: RGV-RGC-1078
Owner: Noelia Montalvo Munoz, et al.
Acres: 1.056
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 26 of 36

* SCHEDULE “CCC”
LEGAL DESCRIPTION

Tract: RGV-RGC-1078
Owner: Noelia Montalvo Munoz, et al.
Acres: 1.056

BEING a 1.056 acre (45,988 square feet) parcel of land out of Porcién 71,Ancient Jurisdiction
of Mier, Mexico, now Starr County, Texas, also being out of the J. Salinas Grant, Abstract 163,
Share 1 1-a, and a portion of a called 1.60 acre tract of land described in a deed dated March 10,
1975, from Juan Montalvo and wife, Zulema Pena de Montalvo, to Juan Montalvo and wife,
Ascencion V. Montalvo, recorded in Volume 384, Page 137 of the Official Records of Starr
County, Texas (O.R.S.C.T.), said property being transferred to Noelia Montalvo Munoz and ~
Sylvia Montalvo Ramirez by warranty deed 2019 - 348697 on February 12, 2008 said 1.056
acre parcel being more particularly described by metes and bounds as follows:

COMMENCING at a point for reference at the common north corner of a called 1.00 acre
tract of land described in a deed dated July 11, 1974, to Matilde Munoz and wife, Lucia G.
Munoz, recordéd in Volume 395, Page 389 (O.R.S.C.T.) and the east corner of a called 1.60
acre tract of land described in a deed dated November 10, 1969, to Dr. Cecilio Homero
Gutierrez, M.D., recorded in Volume 346, Page 539 (O.R.S.C.T.), said called 1.60 acre tract
owned by the Estate of Elisa de Leon Gutierrez being under Travis County Court No.1, Case
No. PR-18-000383 assigning Laura Sandoval as executrix, from which a found 1/2-inch iron
rod found bears NORTH 27°06’00” WEST, 1.19 feet, thence as follows:

SOUTH 61°13’10” WEST, along the common northwest line of said called 1.00 acre tract and
the southeast line of said called 1.60 acre tract, at a distance of 318.00 feet to a 5/8-inch iron
rod with aluminum cap marked “RGV-RGC-1081-3= 1080-1” set for the common west corner
of said called 1.00 acre tract and the north corner of that certain called 0.61 acre tract of land
described in a deed dated January 25, 1954, from Isabel Gutierrez Garcia to Romulo Gutierrez
recorded in Volume 191, Page 98 (O.R.S.C.T.);

THENCE, SOUTH 27°10°00” EAST, along the north line of said called 0.61 acre tract and
the south line of said called 1.00 acre tract, a distance of 137.00 feet to a 5/8-inch iron rod with
aluminum cap marked “RGV-RGC-1080-2= 1078-5” set on the common northwest line of said
1.60 acre tract of land and the southeast line of said called 1.00 acre tract for the north corner
and the POINT OF BEGINNING of the herein described parcel, having grid coordinates of
N=16,674,419.211 and E=813,306.762, said point bears SOUTH 11°27°56” WEST, a distance
of 2,328.07 feet from United States Army Corps of Engineers Control Point No. $133;

THENCE, NORTH 61°14’29” EAST, along said common line, a distance of 33.24 feet to a
5/8-inch iron rod with aluminum cap marked RGV-RGC-1078-1 for the north corner of the

parcel described herein;
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 27 of 36

THENCE, SOUTH 52°46°57” EAST, over and across said parent tract, a distance of 176.40
feet to a 5/8-inch iron rod with aluminum cap marked “RGV-RGC-1078-2= 1077-2” set in the
common southeast line of said parent tract and the northwest line of a called 1.55 acre tract of
land described in a deed dated January 25, 1954, to Angelita G. Haynes, recorded in Volume
191, Page 97 (O.R.S.C.T.) for the east corner of this tract;

THENCE, SOUTH 60°56’59” WEST, along said common line, at a distance of 187.88 pass the
south line of said Share 1 1-a and continuing a total distance of 297.87 feet to an unmarked point
along the northerly water line of the Rio Grande River (as of the date of this survey) for the
south corner of this tract;

THENCE, NORTH 43°29’21” WEST, along the north water line of the Rio Grande River (as of
the date of this survey), a distance of 55.00 feet to an unmarked point in the north water line of
the Rio Grande River (as of the date of this survey);

THENCE, NORTH 44°11°26” WEST, continuing along the north water line of the Rio Grande
River (as of the date of this survey), a distance of 113.54 feet to an unmarked point for the west
corner of the parcel described herein;

THENCE, NORTH 61°14’29” EAST, at a distance of 76.36 feet passing the common east
corner of said called 0.61 acre tract and the south corner of said called 1.00 acre tract, in all a
total distance of 203.77 feet, to the POINT OF BEGINNING and containing a 1.056 acre
(45,988 square feet) tract of land.
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 28 of 36

SCHEDULE
CnpDD 99

Tract: RGV-RGC-1078
Owner: Noelia Montalvo Munoz, et al.
Acres: 1.056
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 29 of 36

 

CONTROL POINT PIff S133 p98
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Dr. ae Hormero Gutrerrez, M.D. Q
Vol 346° Pg 539, November 10, 1969 \x

 
   
 
  

  

    

 

 

 

 

 

 

 

 

 

 

 

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© SET ALUM. DISK ON 5/8” IR STAMPED AS NOTED LS | oN 61714'29" E 237.01"
O FOUND PROPERTY CORNER AS NOTED
_ R.S.C.T. MAP RECORDS STARR COUNTY, TX

CALCULATED POINT PLAT SHOWING AN 1.056 ACRE (45,988 S.F.), PARCEL OF LAND MORE OR LESS,
BEING OUT OF PORCION 71, ANCIENT JURISDICTION OF MIER, MEXICO, NOW STARR

COUNTY, TEXAS, ALSO BEING OUT OF THE J. SALINAS GRANT, ABSTRACT 163,

SHARE tea, ALSO BEING OUT OF A CALLED 1.60 ACRE TRACT CONVEYED TO
6810 LEE ROAD JUAN MONTALVO AND WIFE, ASCENCION V. MONTALVO IN VOL. 384, PG. 137,
SPRING, TEXAS 77379 EXECUTED MARCH 10, 1975 (0.R.S.C.T.) BEING TRANSFERRED TO NOELIA MONTALVO

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Surve Iric. Ba BBN} 325-4220 «| MuNoz AND SYLVIA MONTALVO RAMIREZ BY WARRANTY DEED 2019-348697
TBPLS FIRM RE vet No. 10030700 EXECUTED FEBRUARY 12, 2008.
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oo & SYLVIA MONTALVO RAMIREZ JDK [122019 || ENGINEERING, ING. 33

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wg CONTRACT NO: W9127S-14-D-0013 Or onaerens “ g

\* 9 JISTARR COUNTY TEXAS). 1.0.: W45XMA815779870001 (EMAIL) info@bnieng.com o

 

 

RODS PROJ, 595-21846-001 FILENAME: RGV-RGC-1078A DATE: 42/11/2019
Case 7:08-cv-00177

Document 116-1 Filed on 01/09/20 in TXSD

Page 30 of 36

 

Called 0.61 Acre
lsobel Gutierrez Garcia
to Romulo CutierreZ.

Vol 191 Pa 95
Jonuaty 25, 1954

RGV—-RGC-LO7E

GROSS 1.056 AC. (45,988 SF.)

NOTES:

1. The bearings, distances, and coordinate_ values
shown hereon are based on the State Plane
Coordinate System of Texas, South Zone (4205)
North American Datum of 1983, (2011 ADu;
The distances and coordinates shown
hereon are grid values and may be converted to
urface vaing a combined scale factor of 1.00004.
(grid x 1.00004 = surface

2. The area shown hereon has been calculated
using grid values.

3. This survey was prepared without benefit of a
current title commitment and may not show
easements and other factors which might
affect the property.

4. A Metes and Bounds of even date accompanies
this plat.

5. Lone Star_811_ was submitted for this survey
on Noy. 15,2018 (ticket Nos.583107639,
1881973340), no visible marks for utilities of

iS date.

ANCIENT JURISDICTION OF MIER, MEXICO

J. SALINAS GRANT, A-163,

2010.00 EPOCH).

 

COORDINATE TASLE

 

 

 

 

 

MONUMENT NAME NORTHING EASTING
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RGV-RGC-—1078-2=1077-2 16,674,328.508 813,476.372
RGV-RGC-1080-—2=1078-5 16,674,419.211 813,306,762
RGV-RGC—1081—3=1080-1 16,674,341.919 813,165,927

 

 

 

 

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PORCIAN 71

STARR COUNTY, TX

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1, JOHN DAVID KENNEY, A REGISTERED PROFESSIONAL LAND
SURVEYOR DO HEREBY CERTIFY THAT THE HEREON MAP OR
PLAT DEPICTS A SURVEY MADE UNDER MY SUPERVISION, ON
THE GROUND, AND MEETS THE MINIMUM STANDARDS AS SET
FORTH BY THE TEXAS BOARD OF PROFESSIONAL LAND
SURVEYING.

Able tut J

JOHN DAVID KENNEY RPLS 2080

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\* 9 JISTARR COUNTY TEXAS) T.0.: W45XMAB15779870001 }| "wo. 10199942 J. (EMAIL) info@tnteng.com a
RODS PROJ. 595-21846-001 FILENAME: RGV-RGC-1076B DATE: 12-11-2019

 
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 31 of 36

SCHEDULE
COCC”

Tract: RGV-RGC-1077
Owner: Jose Ignacio Gutierrez, et al.
Acres: 1.256
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 32 of 36

SCHEDULE “CCC”
LEGAL DESCRIPTION

Tract: RGV-RGC-1077
Owner: Jose Ignacio Gutierrez, et al.
Acres: 1.256

BEING A 1.256 acre tract (54,733 square feet) parcel of land out of a portion of Share |1-a of
Porcién 71, Ancient Jurisdiction of Mier, Mexico, now Starr County, Texas, and a portion of a
called 1.55 acre tract of land described in a deed dated January 25, 1954 from Isabel Gutierrez
Garcia to Angelita G. Haynes recorded in Volume 191, Page 97 of the Official Records of Starr
County Texas (O.R.S.C.T.), Said parcel being transferred by probate on December 13, 2018 in
Warranty Deed 2018-346819 to Jose Ignacio Gutierrez, Minerva G. Guerra, Rosario G. Pope,
Celeste G. Narro, Cecilia G. Martinez, Maria Iris G. Trevino. Said 1.256 acre of land being more
particularly described by metes and bounds as follows:

COMMENCING at a found Steel Fence corner post found having a coordinate value of N =
16,674,255.020, and E = 813,746.000, at the east corner of said called 1.55 acre tract common
to the north corner of called 1.51 Acre tract conveyed from Jacinto Montalvo and Zulema Pefia
to Juan Montalvo and Ascencién V. Montalvo described in a deed dated March 10, 1975 as
recorded in Volume 384, Page 137 of the O.R.S.C.T., common to the northeast corner of the said
called 1.55 acre tract (First Tract), thence as follows;

SOUTH 61°06’14” WEST, a distance of 182.79 feet along the northwest line of said called 1.51
acre tract common to the southeasterly line of said called 1.55 acre tract to a 5/8-inch iron rod
with aluminum cap stamped “RGV-RGC-1077-1” set for the northeast corner and POINT OF
BEGINNING of the parcel described herein, having a coordinate value of N=16,674,166.690,
E=813,585.964, said point bears South 04°08’36”West, 2,540.77 feet from United States Army

Corp of Engineers Control Point $133.

THENCE, SOUTH 61°06’14” WEST, at a distance of 113.00 feet pass the southwest line of
share 11-a, and continuing a total distance of 258.57 continuing with said common line, to an
unmarked point at the north line of the Rio Grande River (as of the time of this survey) for the
southeast corner of said parcel;

THENCE, Along the north line of the Rio Grande River the following courses and distances,
approximating the north river line as of the time of this survey;

THENCE, NORTH 49°57’ 34” WEST, a distance of 43.41 feet;
THENCE, NORTH 45°13’23” WEST, a distance of 49.13 feet;

THENCE, NORTH 43°29’21” WEST, a distance of 109.71 feet to the west corner of the parcel
described herein common to the south corner of RGV-RGC-1078;
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 33 of 36

THENCE, NORTH 60°56’59” EAST, at a distance of 109.98 feet pass the southwest line of
said Share 11-a of Porcién 71 and the south corner of a called 1.60 acre tract conveyed to Juan
Montalvo and wife, Ascencion V. Montalvo in Volume 384, Page 137 (O.R.S.C.T.) and
continuing a total distance of 297.87 feet to a 5/8” iron rod with aluminum cap stamped RGV-

RGC-1078-2=1077-2;

THENCE, SOUTH 52°46’57” EAST, a distance of 7.76 feet along the north line of the tract
described herein to a 5/8” iron rod with aluminum cap stamped RGV-RGC-1077-3;

THENCE, SOUTH 33°21’03” EAST, a distance of 188.10 feet continuing with the north line
of the tract described herein to the Point and Point of Beginning and containing 1.256 acres of

land.
Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 34 of 36

SCHEDULE
a DDD D9

Tract: RGV-RGC-1077
Owner: Jose Ignacio Gutierrez, et al.
Acres: 1.256
 

Case 7:08-cv-00177

Document 116-1 Filed on 01/09/20 in TXSD

Page 35 of 36

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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AGV-RGC-1077
1.256 AC. (54,733 SF.)

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M.R.S.C.T. MAP RECORDS STARR COUNTY, TX
A CALCULATED POINT PLAT SHOWING AN 1.256 ACRE (54,733 S.F.), PARCEL OF LAND BEING OUT OF
PORCION 71, ANCIENT JURISDICTION OF MIER, MEXICO, NOW STARR COUNTY,
TEXAS, ALSO BEING OUT OF THE J. SALINAS GRANT, ABSTRACT 163,
SHARE 11-0, ALSO BEING OUT OF A CALLED 1.55 ACRE TRACT CONVEYED TO
ANGELITA G. HAYNES IN VOL. 191, PG. 97, EXECUTED JANUARY 25, 1954
$810 LEE ROAD 79 | (O.R.S.C.T.). SAID PARCEL BEING TRANSFERRED TO BY PROBATE AND DISTRIBUTION
Surveying, Inc. fk Gar} 357-4020 TIN WARRANTY DEED 2018-346819 TO JOSE IGNACIO GUTIERREZ, MINERVA G. GUERRA,
TBPLS FIRM AECSTRATIO No. 10030700 ROSARIO G. POPE, CELESTE G. NARRO, CECILIA G. MARTINEZ, MARIA IRIS G. TREVINO.
i
26 METES & BOUNDS SURVEY worsen ___| oote | wr] x Tees Raa 2G
m> Al. [12/2019 2P
= JOSE IGNACIO GUTIERREZ ET AL. sox Tame ||ENGINEERING, INC $3
as RGV-RGC-1077 aerreot || norsemncsanris [18 6
We CONTRACT NO: W9127S-14-D-0013 Hee arcane os
(= o JISTARR COUNTY TEXAS) 1.0.: W45XMA815779870001 (EMAIL) infa@bnleng.com a
FILE NAME: RGV-RGC-1077A DATE: 12/10/2019

 

RODS PROJ. 595-21846-001
 

Case 7:08-cv-00177 Document 116-1 Filed on 01/09/20 in TXSD Page 36 of 36

 

J. SALINAS GRANT, A-163,
SHARE 11-a

PORCION 71
ANCIENT JURISDICTION OF MIER, MEXICO
STARR COUNTY, TX >
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eS
Colled 1.55 Ac | ’
lsabel Gutierrez Gorcia to Angelita GC. Hoynes SCALE: 1° = 200’
Out of Share 11-a Vol 797 a &
ORSC LT, Jonuatry 25, 1954
Transferred to by probate
and astrioution in Warranty
Deed 2018—546819 to Jose
lgnacio, GuuerreZ, Minerva CG. Guerra,
frosario G. Pope, Celeste GC. Noarro,
Ceca CG. Martinez, Marra Iris GC. Trevino
Desember 15, 2018

  
  

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lsobel Gutierrez Garcia
lo Romulo CutierrezZ
Yo! 191 Pa
Jonuaty 25, 1954

RGV-RCC-LO7?

1.256 AC. (54,733 SF.)

NOTES:

1. The bearings, distances, and coordinate values &,
shown hereon are based on the State Plane <p
Coordinate System of Texas, South Zone
(4205), North American Datum of 1983 (2011
ADJ; 2010.00 EPOCH). The distances and

   
 
  

 
  

coordinates shown hereon are grid values and qs OF

may be converted to surface using a combined KE Sleses 7
scale factor of 1.00004. (grid x 1.00004 = Weg is Teg
surface) ro he &

 

2. The area shown hereon hos been calculated
using grid values. :

3. This survey wos prepared without benefit of a
current title commitment and may not show
easements and other factors which might offect
the property.

4. A Metes and Bounds of even date accompanies

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

this plat. I, JOHN DAVID KENNEY, A REGISTERED PROFESSIONAL LAND
. . SURVEYOR DO HEREBY CERTIFY THAT THE HEREON MAP OR
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on Nov. A icket Nos. i i
1881973340), no visible marks for utilities as THE GROUND, AND MEETS THE MINIMUM STANDARDS AS SET
of this date. fOBTH ey THE TEXAS BOARD OF PROFESSIONAL LAND
Libel iut PL /2-(42-19
JOHN DAVID KENNEY RPLS 2080 DATE
6810 LEE ROAD
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Surveying, Inc. fax a 257-4021
TAPLS FIRM REGISTRATION No. 10030700
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° JISTARR COUNTY TEXAS) T.0.: W45XMA815779870001 ) | - ~~ no. 10193942 J (EMAIL) info@bnfeng.com a

 

 

 

 

  

 

 

 

RODS PROJ. 595-21846-001 FILENAME: RGV-RGC-1077B DATE: 12/10/2019
